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UNITED STATES DISTRJCT COURT                                          ~., J)OCUMENT
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SOUTHERN DISTRJCT OF NEW YORK                                         '. ·ELECTRONICALLY, FILED                    ';

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         -against                                                               ORDER
                                                                          20 CR 201 (KMW)
ANTHONY YOUNG,

                                        Defendant
------------------------------------------------------------------x
KIMBA M. WOOD, District Judge:

         The Court will hold a teleconference in the above-captioned case on November 17, 2020,

at 11 :00 a.m.

         To join the conference, the parties should dial 888-363-4749 and enter access code

1613818.

         SO ORDERED.

Dated: New York, New York
       November 9, 2020


                                                           KIMBA M. WOOD
                                                      UNITED STATES DISTRJCT JUDGE
